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                                         UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF FLORIDA
                                               GAINESVILLE DIVISION
           In Re:

           MATTHEW BRUCE HINTZE, and                                              Case No. 12-10462-KKS
           LARINA K. HINTZE,
                                   Debtors.
                     ________________________________________                     Chapter 7


           JOHN SPENCE, SHEILA SPENCE, INTERMED                                   Adv. No. 13-01007-KKS
           BIOMEDICAL SERVICES, INC., a Florida corporation,
           DAVID WHITNEY, and FLH HOLDINGS OF FLORIDA,
           LLC, a Florida limited liability company,
                  Plaintiffs,
           v.
           MATTHEW BRUCE HINTZE, and
           LARINA K. HINTZE,
                  Defendants.
           ________________________________________________/

                                         PLAINTIFFS’ EXHIBIT LIST FOR TRIAL

 PRESIDING Judge                                     PLAINTIFFS' ATTORNEYS               DEFENDANTS' ATTORNEYS
 .Hon. Karen K. Specie                               Robert Wilcox, Esq.                 Justin Luna, Esq.
                                                     Elizabeth Bowen, Esq.               Christina Taylor, Esq.

 HEARING/TRIAL DATE(S)                               COURT REPORTER                      COURTROOM DEPUTY
 October 8, 2015, February 3, 2016,
 March 2, 2016, May 18-19, 2016
    PLF.   DEF.     DATE
    NO.    NO.     OFFERED      MARKED   ADMITTED                             DESCRIPTION OF EXHIBITS*
1                 10/08/15 10/08/15 2/3/16          Hearing Transcript Case No.: 12-10462-KKS; Adv. No.: 13-01007-
                                                    KKS; Date: Thursday, December 4, 2014.
2                 10/08/15 10/08/15 2/3/16          Defendant’s Privilege Log of 12/19/2014.
3                 10/08/15 10/08/15 2/3/16          Defendant’s Privilege Log of 1/5/2014.
4                 10/08/15 10/08/15 2/3/16          Letter from Jeff Childers to Robert Wilcox dated January 5, 2015, Re:
                                                    amended privilege log.
5                 10/08/15 10/08/15 2/3/16          Letter from Elizabeth R.P. Bowen to Matthew & Larina Hintze dated
                                                    July 3, 2015, Re: Deficiencies and Responses to Plaintiff’s Discovery
                                                    responses Spence et al v. Hintze, Adversary Proceeding No. 12-1008
6                 10/08/15 10/08/15 2/3/16          Declaration
                                                    (Bankr. N.D.ofFla).
                                                                   Seldon J. Childers Case No: 12-10462-KKS, Adv. No.:
                                                    13-01007-KKS. Doc. 442-6; Filed 09/25/15.
                                                                                                                  Page 1 of 3
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7           10/08/15 10/08/15   2/3/16   Email Chain from 5/1/12 4:02 a.m. through 9/17/12 3:41:47 p.m.
8           10/08/15 10/08/15   2/3/16   Intellectual Property Transfer Agreement of TutoringZone, LLC.
9           10/08/15 10/08/15   2/3/16   Email Chain from 5/13/12 8:30:53 p.m. through 5/14/12 8:01 a.m.
10          10/08/15 10/08/15   2/3/16   State of Florida Uniform Commercial Code Financing Statement Form
                                         Filed 2012 Jun 11 09:49 a.m. No.: 201206911415.
11          10/08/15 10/08/15   2/3/16 TutoringZone LC Transaction Detail by Date January 1 through August
                                         1, 2012.
12          10/08/15 10/08/15   2/3/16 Intellectual Property Lease between TutoringZone, LLC and Chris
                                         James and Cynthia Frenchman; Date: May 22, 2012.
13          10/08/15 10/08/15   2/3/16 Hearing Transcript Adv. No.: 13-01007-KKS; Date: January 7, 2015.
14          10/08/15 10/08/15   2/3/16 Plaintiff John Spence’s First Request for Admissions to Defendant
                                         Matthew B. Hintze; Case No.: 12-10462-KKS; Adv. No.: 13-01007-
                                         KKS. Doc. 442-14; Filed 09/25/15.
15          10/08/15 10/08/15   2/3/16 Plaintiff David Whitney’s First Request for Admissions to Defendant
                                         Matthew B. Hintze; Case No.: 12-10462-KKS; Adv. No.: 13-01007-
                                         KKS. Doc. 442-15; Filed 09/25/15.
16          10/08/15 10/08/15   2/3/16 Email from Jennifer Hunt to Robert D Wilcox Cc: Jeffery Childers;
                                         Date: Wednesday, December 17, 2014 11:18 a.m.; Re: Spence v.
                                         Hintze–Discovery Follow Up.
17          10/08/15 10/08/15   2/3/16 Hearing Transcript Adv. No.: 13-01007-KKS; Date: January 7, 2015.
18          02/03/16            03/02/16 Supplement to Comp. Exhibit 7 (supplemented 2/3/16 & 2/29/16,
            and                          CE 1-361 as a result of ongoing production of documents, and subject
            03/02/16                     to disputed items).



19          03/02/16                     Transcript of 1/4/13 Meeting of Creditors (cont’d) - Case No. 12-10462
20          03/02/16                     (Parties stipulated
                                         Transcript          asMeeting
                                                     of 3/6/13  to authenticity and admissibility).
                                                                         of Creditors (cont’d) - Case No. 12-10462
21          03/02/16                     (Parties stipulated as to authenticity and admissibility).
                                         Transcript of 4/15/13 - 2004 Exam in Case No. 12-10462
22          03/02/16                     (including of
                                         Transcript  exhibits).
                                                        05/21/13  - 2004stipulated
                                                                (Parties Exam (cont’d)   in Case No. and
                                                                                   as to authenticity 12-10462
                                         admissibility).
                                         (including exhibits). (Parties stipulated as to authenticity and
                                         admissibility).
23          03/02/16                     Deposition transcript of Christopher James (including Exhibits). (Parties
                                         stipulated as to authenticity and admissibility) **
24          03/02/16                     Deposition transcript of Kevin Ogilby (including Exhibits). (Parties
                                         stipulated as to authenticity and admissibility) **
25          03/02/16                     Deposition transcript of Larina Hintze (including Exhibits). (Parties
                                         stipulated as to authenticity and admissibility) **
26          03/02/16                     Deposition transcript of Matthew Hintze (including Exhibits) (Parties
                                         stipulated as to authenticity and admissibility) **
27          05/18/16                     Second Deposition transcript of Matthew Hintze (including Exhibits)
28          05/18/16                     Deposition transcript of Jon Aleman (including Exhibits)
29          05/18/16                     Deposition transcript of John Kavekos (including Exhibits)
30          05/18/16                     Deposition transcript of Alek Hartzog (including Exhibits)
31          05/18/16                     Deposition transcript of Paul Hintze (including Exhibits)
32          05/18/16                     Deposition transcript of Marc Schnoll (including Exhibits)
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33               05/18/16                                      Deposition transcript of Seldon Childers (including Exhibits)
34               05/18/16                                      Deposition transcript of Bruce Hintze (including Exhibits)
35               05/18/16                                      Deposition transcript of Jason Pappas (including Exhibits)***
36               05/18/16                                      transcibedtranscribed
                                                               Composite   Exhibit as of 5/16/2016)
37               05/18/16                                      Claims Register and Selected Claims

*Include a notation as to the location of any exhibit not held with the case file or not available because of size.
** Composite Exhibit 18 was also marked in the James and Hintze depositions as Exhibit 26 and 32, but those
deposition exhibits will be excluded due to size and duplication with Composite Exhibit 18.
*** Transcript not available as of May 16, 2016




          May 16, 2016                                              WILCOX LAW FIRM


                                                                    /s/ Robert Wilcox
                                                                    Robert D. Wilcox
                                                                    Florida Bar No.: 755168
                                                                    Elizabeth R. P. Bowen
                                                                    Florida Bar No. 97297
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                                                                    ATTORNEYS FOR
                                                                    PLAINTIFFS


                                                                 CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing was filed through the ECF system on
May 16, 2016, which will provide a copy to all parties who have consented to such
service, including Justin M. Luna, attorney for the Defendants.

                                                                    /s/ Robert Wilcox
                                                                    Robert D. Wilcox, Attorney




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